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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

M4SIZ LIMITED,

            Plaintiff,

      v.                                         CIVIL ACTION NO. 6:22-cv-00589-ADA

RETAIL ECOMMERCE VENTURES, LLC,


            Defendant.



                            PLAINTIFF’S RESPONSE


      Plaintiff M4SIZ LIMITED, Hereby Responds to the e-mail from the Court

of February 16, 2024:

            Counselors,
            On 10/12/23, at ECF No. 10 Counselors represented that there was an imminent
            settlement. As of today no dismissal papers have been filed. By Wednesday 2/21
            either file status update with a proposed order for the Court to lift the stay or
            dismissal papers.
            Best,
            Michael Saulnier
            Law Clerk to the Honorable Alan D Albright

Undersigned current counsel for Plaintiff, notes that DE#10 was filed in October of

2022 by prior counsel. Undersigned counsel made his notice of appearance in

September of 2023, DE#12. Undersigned counsel reached out to Mr. William

Ramey at that time for information regarding the purported settlement. Mr. Ramey

was unable to provide any information, not even the name of contact information

of the purported opposing counsel.




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      Undersigned counsel also attempted to contact the Defendant at the address

of record on the summons but was informed that CT Corp was not the registered

agent for Defendant. Undersigned does not believe that a settlement was reached

nor even discussed. M4Siz is filing a Notice of Voluntary Dismissal without

prejudice.


      Submitted this 21st day of February, 2024.


                                                       Respectfully submitted,

                                                       /s/ Joseph J. Zito
                                                       Joseph J. Zito
                                                       202-466-3500
                                                       jzito@whitestone.law
                                                       WHITESTONE LAW
                                                       1850 Towers Crescent Plaza, #550
                                                       Tysons, Virginia 22182

                                                       Attorney for M4siz Limited




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date I electronically filed the foregoing with the Clerk of

Court for filing and uploading to the CM/ECF system, which will automatically send e-mail

notification of such filing to the appropriate parties and opposing counsel of record.


This 21st day of February, 2024.
                                                                 Respectfully submitted,

                                                                 /s/ Joseph J. Zito
                                                                 Joseph J. Zito
                                                                 202-466-3500
                                                                 jzito@whitestone.law
                                                                 WHITESTONE LAW
                                                                 1850 Towers Crescent Plaza, #550
                                                                 Tysons, Virginia 22182

                                                                 Attorney for M4siz Limited




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